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                        IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OT PENNSYLVANIA

UNITED STATES OF AMERICA                               CRIMINAL NO.2I-

                                                       DATE FILED: October 28,2021

JOSEPH CAMMARATA                                       VIOLATION:
ERIK COHEN                                             l8 U.S.C. $ 1349 (conspiracy - I count)
DAVID PUNTURIERI                                       Notice of forfeiture

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THE GRAND JURY CHARGES TIIAT:

At all times material to this Indictment:

        1.     Alpha Plus Recovery, LLC ("Alpha Plus") was incorporated in the State of New

Jersey on August21,2014. Alpha Plus was in the business of aggregating claims on        behalfof

individuals or institutional shareholders who had a right to claim monetary recovery from

securities fraud class action seftlements.

       2.      Defendants JOSEPH CAMMARATA, ERIK COHEN, and DAVID

PUNTURIERI owned, operated, and managed Alpha Plus. Defendants CAMMARATA,

COHEN, and PUNTIJRIERI all had signature authority over Alpha Plus bank accounts.

       3.      Under federal law, corporations and other participants in United States' securities

markets bear certain responsibilities to investors who buy and sell securities in those markets.

Investors who suffer losses as the result ofviolations ofthe federal securities laws can sue the

entities they believe to be responsible for their losses. These types of lawsuits are commonly

called securities fraud lawsuits.

       4.      Most often, the losses that a particular individual suffers as the result ofa

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violation ofthe federal securities laws are not great enough to warrant that individual investor in

bringing a lawsuit to recover its losses. At the same time, because the violation may affect a very

large number of investors, the aggregate damages suffered by all investors as a result ofthe

violation of federal securities laws do warrant the expenditure of resources to engage in litigation

to recover the claimed damages.

          5.      A securities class action, or securities fraud class action, was   a lawsuit   filed by an

investor or a small group of investors on behalfofall ofthe investors who bought or sold a

company's publicly traded securities within a specific period of time and suffered economic

injury   as a result   ofviolations ofthe securities laws.

          6.      The Securities and Exchange Commission ("SEC") was a federal agency charged

with enforcing the federal securities laws. The SEC was empowered to file enforcement actions

to recover damages for violations ofthe securities laws.

          7.      As a matter of law, the settlement of federal securities class actions and federal

securities fraud class actions require the approval ofa federal court, which considers the faimess

and propriety    ofthe proposed settlement before granting approval. As a practical matter,         because

such settlements often involve very large numbers of injured investors, they fiequently involve

very large amounts ofmoney. Even after the payment of attomeys' fees and expenses, such

settlements result in substantial pools offunds that have to be equitably divided among large

numbers of investors.

          8.      The court-approved settlement agreement ofa securities class action case

typically provides a formula or series of formulas for the distribution of settlement proceeds

among the class of injured investors. In virtually all cases, neither the plaintiff investors nor

defendant companies involved in securities class action cases are equipped to wrdertake the

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detailed and painstaking tasks required to follow the settlement formulas and make the

distributions in accordance with the federal court decree.

       9.        As a result, third-party firms, known as "claims administrators" are generally

involved when securities class action or SEC enforcement actions are settled. Claims

administrators are approved by the court overseeing the settlement to administer the settlement

fund by undertaking myriad actions such as identifing and approving qualified claimants,

calculating the damage award appropriate for each claimant, and tendering and accounting for

each payment fiom the settlement fund. In carrying out these tasks, claims administrators rely

almost entirely on information submitted to them by the claimants or by parties acting on behalf

of claimants.

        10.      Because the burdens of submitting and substantiating claims may outweigh the

amount expected to be received from the award, many individual members ofa class action

settlement may be unwilling to submit claims even w'here such claims are entirely legitimate and

would be fully supported. Because of this reluctance, firms known as "claims aggregators" act on

behalf of investor-members ofsecurities class actions. Such claims aggregators do the work        of

assembling the relevant supporting material needed to verifr the claims, submitting the resulting

claims to the appropriate claims administrator, tracking the status of the pending claims, and

paying the resulting settlements to their clients. For these services, claims aggregators are

generally paid a percentage ofthe firnds recovered by their clients, typically 20Vo to 40yo.

        11.      Alpha Plus was a claims aggregator purporting to act on behalfofclients who

claimed entitlement to settlements from securities class action and SEC enforcement action

settlements.   All claimants to such settlements, including   those represented by claims aggregators

such as Alpha Plus, were required to show two essential facts in order to     qualiff for an award of

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firnds. First, claimants needed to demonstrute that they had bought shares ofthe subject security

during the time period set forth in the court-approved settlement agreement that resolved the

securities class action lawsuit. Second, claimants also needed to show they had suffered damages

as a result   oftheir purchase ofsecurities. Generally, such damages were established by proving

when the securities had been purchased and sold, and the price that the claimant had paid and

received for the securities.

         12.      Alpha Plus submitted claims, usually by the United States Mail, to claims

administrators in the Eastem District of Pennsylvania and elsewhere on behalf of clients seeking

damages from a securities class action or SEC enforcement action. The claims included an

authorization to frle on behalfofthe allegedly injured claimant and a spreadsheet identifring the

purchase and sale transactions in the subject security during the relevant time period.

         13.      Stmtegic Claims Services ("Strategic Claims") was a class action claims

administrator based in Medi4 Pennsylvania.

         14.      Hefiler Claims ("Heffler") was a class action claims administrator based in

Philadelphia, Pennsylvania.

         15.      RG2 Claims Administration ("RG2") was a class action claims administrator

based   in Philadelphi4 Pennsylvania.

         16.      According to records submitted by Alpha Plus to various claims administrators,

Nimello Holding LLC ('Nimello Holding") was an Alpha Plus client. Alpha Plus submissions

claimed that Nimello Holding was a hedge fund located in Gibraltar, and its legal representative

was an individual identified here as "T.C."

         17   .   An entity called Nimello Holding LLC was incorporated in New Jersey in 2015

by defendant DAVID PLTNTURIERI. Incorporation documents list defendants PTINTURIERI,

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ERIK COHEN, and JOSEPH CAMMARATA              as    officers and dhectors.

        18.   Defendants JOSEPH CAMMARATA, ERIK COHEN' and DAVID

PLINTURIERI opened a bank account at PNC Bank in the name of Nimello Holding.

        19.   According to records submitted by Alpha Plus to claims administrators, Quartis

Trade and Investment LLC ("Quartis Trade") was an Alpha Plus client. Alpha Plus submissions

claimed that Quartis Trade was a hedge fund located in Nassau, Bahamas, and its legal

representative was an individual identihed here as "S.D."

        20.   An entity called Quartis Trade and lnvestment LLC was incorporated in New

Jersey in 2014 by defendant ERIK COHEN. Incorporation documents list defendants COHEN

and   DAVID PLJNTURIERI     as members/managers      of Quartis Trade. Quartis Trade added

defendant JOSEPH CAMMARATA as an owner in October 2017.

        21.    Starting in April 2015, defendants JOSEPH CAMMARATA, ERIK COHEN, and

DAVID PUNTURIERI opened bank accounts at PNC Bank, TD Bank, and Investors Bank in the

name of Quartis Trade.

        22.    According to records submitted by Alpha Plus to claims administrators,

Inversiones Invergasa SAS ("Invergasa SAS") was an Alpha Plus client located in Bogota,

Colombia.

        23.    From at least in or about August 2014 through in or about January 2021, in the

Eastem District of Pennsylvani4 and elsewhere, defendants

                                  JOSEPH CAMMARATA,
                                      ERIK COHEN,
                                          and
                                   DAVID PUNTURIERI

conspired and agreed together and with other persons known and un-known to the grand jury, to



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commit mail fraud and wire fiaud, that is, to knowingly execute and attempt to execute a scheme

to defraud claims administrators. investor-claimants, and securities class action defendants, and

to obtain money and property by means of false and fraudulent pretenses, representations, and

promises, in violation of 18 U.S.C. $$ 1341,1343.

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                It was part of the conspiracy that defendants JOSEPH CAMMARATA, ERIK

COHEN, and DAVID PUNTURIERI, and others known and unknown to the grand jury:

        24.    Created what purported to be independent entities, but which were in fact owned

or controlled by the defendants, and used those entities to make false claims in securities class

action and SEC enforcement action settlements.

        25.    Made false and fraudulent claims on behalf of supposed Alpha Plus clients to

claims administrators Strategic Claims, Heffler, and RG2 in the Eastem District of Pennsylvania,

and to other claims administrators throughout the country.

       26.     Communicated with claims administrators in the Eastem District of Pennsylvania

and elsewhere by United States Mail, electronic mail, and interstate telephone calls in support     of
their false and fraudulent claims.

       27.     Made material misrepresentations to claims administrators about securities trading

that had purportedly been done by supposed Alpha Plus clients. In parricular, defendants

JOSEPH CAMMARATA. ERIK COHEN, and DAVID PUNTITRIERI caused Alpha plus to

submit claims on behalf ofNimello Holding, Quartis Trade, and Invergasa SAS, which claims

falsely and fraudulently represented that Nimello Holding, euartis Trade, and Invergasa SAS

had purchased and sold securities that were the subject ofclass action lawsuits or sEC

enforcement actions.


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        28.    Created false names of supposed Alpha Plus employees when communicating

with claims administrators.

        29.    Created fictitious brokerage documents purporting to show purchases and sales    of
securities subject to class action and SEC enforcement action settlements.

        30.    Provided fictitious brokerage documents to claims administrators to support false

and fraudulent claims.

        31.    Impersonated individuals purportedly in control ofAlpha Plus clients, such as

T.C. and S.D., in communications with claims administrators who were attempting to determine

the legitimacy of claims submitted by Atpha Plus.

        32.    Impersonated individuals purportedly employed by brokerage firms in

conversations with claims administrators who were attempting to determine the legitimacy   of
claims submitted by Alpha Ptus.

        33.    Falsely denied ownership or control of Alpha Plus in conversations with claims

administrators who were attempting to determine the legitimacy of claims submitted by Alpha

Plus.

        34.   Received approximately $40 million from claims administrators based on false,

fraudulent, and materially misrepresented claims they made on behalf of Nimello Hotding,

Quartis Trade, and Invergasa SAS.

        35.   Transfered funds fraudulently obtained from claims administrators into accounts

defendants JOSEPH   CAMMARATA, ERIK coHEN, and DAVID PUNTURIERI controlled.

              All in violation of Title   18, United States Code, Section 1349.




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                                      NOTICE OF FORFEITURE

                         THE GRAND JURY FTIRTIMR CHARGES THAT:

           l.      As a result of the violation   ofTitle   18, United States Code, Section 1349, set   forth

in this Indictment, defendants

                                       JOSEPH CAMMARATA,
                                             ERIKCOHEN,
                                                 and
                                          DAVID PT-INTURIERI

shall forfeit to the United States ofAmerica any property, real or personal, constituting, or

derived from, proceeds obtained traceable to such violatioq including, but not limited to

$40,000,000:

          2.      If any ofthe property   subject to forfeiture, as a result of any act or omission of the

defendant:

                  a.   cannot be located upon the exercise of due diligence;

                  b.   has been transferred or sold to, or deposited   with,   a   third parry;

                  c.   has been placed beyond the    jurisdiction ofthe Court;

                  d.   has been substantially diminished in value;     or

                  e.   has been commingled    with other property which carurot be divided without

                       difficulty;

it   is the intent ofthe United states, pursuant to Title 28, United States code, Section 2461(c),

incorporating Title 21, united States code, Secrion 853(p), to seek forfeiture of any other




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property ofthe defendant up to the value ofthe property subject to forfeiture.

       All pursuant to Title   28 United States Code, Section 2461(c) and   Title 18, United   States

Code, Section 981(a)(1)(C).

                                                      A TRUE BILL:




                                                                      FORIPERSON



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JENIIIFER ARBITTIER WILLIAIT,IS
ACTING UNITED STATES ATTORNEY




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No.

 T]NITED STATES DISTRICT COURT

                      Eastern District ol Pennsylvania


                                 Criminal Division


            THE LINITED STATES OF AMERICA


      JOSEPH CAMMARATA, ERIK COHEN, DAVID PUNTURIERI


                                    INDICTMENT

                                 Counts
                 l8 U.S.C. $ 1349 (conspiracy                -   I count)
                           Notice of forfeiture




         Filed in open court this
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